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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                                   4:12CR00142-02 JMM

RANDALL ROBINSON

                                             ORDER

       Pending is the Motion to Declare Defendant Indigent for Costs Other Than Attorney’s

Fees. The Defendant seeks a finding by the Court that the Defendant is indigent for purposes of

hiring an expert in the field of voice recognition. The Defendant has previously been found

indigent for the purposes of appointment of counsel but has retained counsel.

       In order to rule on this motion, the Defendant must file an Amended Motion stating the

basis for the expert, specifying the name of the expert and an itemized list of the costs associated

with the expert’s services. Therefore, the Motion (Docket # 54) is DENIED without prejudice.

       IT IS SO ORDERED this 6th day of June, 2013.



                                      ______________________________
                                        James M. Moody
                                        United States District Judge
